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              EXHIBIT 9
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 8   *Pending Transfer to MDL 1917 and
     Automatic Pro Hac Vice Admission Pursuant
 9
     to Pretrial Order No. 1 Dated April 4, 2008
10   (Waiving Civil L.R. 11-3)

11   Attorneys for Plaintiff State of Florida
12                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                               L8
13
                                 SAN FRANCISCO DIVISION
14

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                                                                    620&
16 1+-----------------------------~
17                                                    COMPLAINT FOR DAMAGES, CIVIL
     This Document Relates To:                        PENAL TIES, INJUNCTIVE RELIEF
18   Case No.                                         DEMAND FOR JURY TRIAL
19
     STATE OF FLORIDA,                                Judge:
20   OFFICE OF THE ATTORNEY GENERAL,
     DEPARTMENT OF LEGAL AFFAIRS,
21
                    Plaintiff,
22         v.
23
     LG ELECTRONICS, INC., LG
24   ELECTRONICS U.S.A., INC., LG
     ELECTRONICS TAIWAN TAIPEI CO.,
25   LTD., KONINKLIJKE PHILIPS
     ELECTRONICS N.V. AIKJA ROYAL
26
     PHILIPS ELECTRONICS N.V.,
27   PHILIPS ELECTRONICS NORTH
     AMERICA CORPORATION, PHILIPS
28   ELECTRONICS INDUSTRIES TAIWAN),

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 1    LTD., PHILIPS DA AMAZONIA
      INDUSTRIA ELECTRONICA LTDA.,
 2    SAMSUNG ELECTRONICS CO., LTD.,
      SAMSUNG ELECTRONICS AMERICA,
 3
      INC., SAMSUNG SDI CO., LTD. FIKIA
 4    SAMSUNG DISPLAY DEVICE CO., LTD.,
      SAMSUNG SDI AMERICA, INC.,
 5    SAMSUNG SDI MEXICO S.A. DE C.V.,
      SAMSUNG SDI BRASIL LTDA.,
 6
      SHENZHEN SAMSUNG SDI CO., LTD.,
 7    TIANJIN SAMSUNG SDI CO., LTD.,
      SAMSUNG SDI (MALAYSIA) SDN. BHD.,
 8    TOSHIBA CORPORATION, TOSHIBA
      AMERICA, INC., TOSHIBA AMERICA
 9
      CONSUMER PRODUCTS, LLC, TOSHIBA
IO    AMERICA INFORMATION SYSTEMS,
      INC., TOSHIBA AMERICA ELECTRONIC
II    COMPONENTS, INC., MT PICTURE
      DISPLAY CO., LTD., PANASONIC
I2    CORPORATION FIKIA MATSUSHITA
13    ELECTRIC INDUSTRIAL CO., LTD.,
      PANASONIC CORPORATION OF NORTH
14    AMERICA, BEIJING-MATSUSHITA
I     COLOR CRT COMPANY, LTD., HITACHI,
  5   LTD., HITACHI DISPLAYS, LTD.,
16    HITACHI ELECTRONIC DEVICES (USA),
      INC., HITACHI AMERICA, LTD., HITACHI
17    ASIA, LTD., CHUNGHWA PICTURE
      TUBES LTD., CPTF OPTRONICS CO.,
18    LTD., CHUNGHWA PICTURE TUBES
19    (MALAYSIA) SDN. BHD., IRICO GROUP
      CORPORATION, IRICO DISPLAY
20    DEVICES CO., LTD., IRICO GROUP
      ELECTRONICS CO., LTD., THAI CRT
21    COMPANY, LTD. AND SAMTEL COLOR,                 i


22    LTD.

23 1 ~--------~D~e~fu~n~d~==ts~·----------~
24          Plaintiff, the State of Florida, through the Attorney General and the Department of Legal
25
      Affairs, files this Complaint against Defend~ts LG Electronics, Inc., LG Electronics U.S.A.,
26
      Inc., LG Electronics Taiw~ Taipei Co., Ltd., Koninklijke Philips Electronics N.V. alk/a Royal
27
      Philips Electronics N.V., Philips Electronics North America Corporation, Philips Electronics
28

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 1   Industries (Taiwan), Ltd., Philips Da Amazonia Industria Electronica Ltda., Samsung Electronics

 2   Co., Ltd., Samsung Electronics America, Inc., Samsung SDI Co., Ltd. f!k/a Samsung Display
 3
     Device Co., Ltd., Samsung SDI America, Inc., Samsung SDI Mexico S.A. de C.V., Samsung
 4
     SDI Brasil Ltda., Shenzhen Samsung SDI Co., Ltd., Tianjin Samsung SDI Co., Ltd., Samsung
 5
     SDI (Malaysia) Sdn. Bhd., Toshiba Corporation, Toshiba America, Inc., Toshiba America
 6
 7   Consumer Products, LLC, Toshiba America Information Systems, Inc., Toshiba America

 8   Electronic Components, Inc., MT Picture Display Co., Ltd., Panasonic Corporation f!k/a
 9
     Matsushita Electric Industrial Co., Ltd., Panasonic Corporation of North America, Beijing-
10
     Matsushita Color CRT Company, Ltd., Hitachi, Ltd., Hitachi Displays, Ltd., Hitachi Electronic
11
     Devices (USA), Inc., Hitachi America, Ltd., Hitachi Asia, Ltd., Chunghwa Picture Tubes Ltd.,
12

13   CPTF Optronics Co., Ltd., Chunghwa Picture Tubes (Malaysia) Sdn. Bhd., IRICO Group

14   Corporation, IRICO Display Devices Co., Ltd., IRICO Group Electronics Co., Ltd., Thai CRT

15   Company, Ltd. and Samtel Color, Ltd., (collectively "Defendants"), and alleges:
16
                                     A. NATURE OF THE ACTION
17
            1.       The State of Florida brings this action against the Defendants under the Sherman
18

19   Act, the Clayton Act, the Florida Antitrust Act, and the Florida Deceptive and Unfair Trade

20   Practices Act on behalf of itself and its governmental entities, on behalf of businesses within

21   Florida, and on behalf of natural persons in Florida. The State of Florida demands trial by jury of
22
     all issues stated herein.
23
            2.       Defendants conspired to suppress and eliminate competition by fixing the prices
24
     of Cathode Ray Tubes (CRTs) and by agreeing to limit the production ofCRTs.
25
26          3.       Defendants' conspiracy affected billions of dollars of commerce and damaged

27   virtually every government entity, business, and consumer in Florida.
28

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 1         4.        The Attorney General of Florida has reviewed this matter and determined that an

 2   enforcement action serves the public interest.
 3
                                     B. JURISDICTION AND VENUE
 4
           5.        Count One alleges violations of Section 1 ofthe Sherman Act, 15 U .S.C. § 1. It is
 5
     filed under Section 4 ofthe Clayton Act, 15 U.S.C. § 15 (suits by persons injured), and Section
 6
 7   16 of the Clayton Act, 15 U.S.C. § 26 (injunctive relief). This Court has original jurisdiction ove

 8   the federal antitrust claim pursuant to Title 28, United States Code Sections 1331 (federal

 9   question) and 1337 (originaljurisdiction of proceeding under an Act of Congress regulating
10
     commerce or protecting trade and commerce against restraints).
11
           6.        Counts Two and Three arise under the Florida Antitrust Act, Section 542.15, et
12

13   seq., Florida Statutes, and the Florida Deceptive and Unfair Trade Practices Act, Section

14   501.201, et seq., Florida Statutes, respectively. This Court has subject matter jurisdiction over

15   the state claims pursuant to Title 28, United States Code Section 1367 (supplemental
16
     jurisdiction) because these claims are so related to the federal claim that they form part of the
17
     same case or controversy that would ordinarily be tried in one judicial proceeding. The exercise
18
     of supplemental jurisdiction avoids unnecessary duplication and multiplicity of actions and is in
19

20   the interests of judicial economy, convenience, and fairness.

21          7.       Venue is proper in the United States District Court, Northern District of
22
     California, under Title 15, United States Code Section 22 (commerce and trade venue) and Title
23
     28, United States Code Section 1391 (general venue). Each Defendant is an alien corporation or
24
     resides, transacts business, committed an illegal or tortious act, or is found in this district, and a
25

26   substantial part of the events giving rise to the claims arose in this district.

27

28

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 1                                            C. DEFINITIONS

 2         8.       As used herein,
 3
                    a.      "CRT" or "CRTs" means "cathode ray tube(s)." A CRT is a display
 4
            technology used in televisions, computer monitors and other specialized applications. Th
 5
            CRT is a vacuum tube that is coated on its inside face with light sensitive phosphors. An
 6
 7          electron gun at the back of the vacuum tube emits electron beams. When the electron

 8          beams strike the phosphors, the phosphors produce either red, green, or blue light. A
 9          system of magnetic fields inside the CRT, as well as varying voltages, directs the beams
10
            to produce the desired colors. This process is rapidly repeated several times per second to
11
            produce the desired images.
12

13                  b.     There are two types of CRTs: color display tubes, which are used in

14          computer monitors and other specialized applications, and color picture tubes, which are

15          used in televisions. Color display tubes and color picture tubes are collectively referred to
16
            herein as "cathode ray tubes" or "CRTs."
17
                   c.       "CRT Products" means products containing CRTs, such as televisions
18

19          and computer monitors.

20                 d.      "OEM" means any Original Equipment Manufacturer of CRT Products.

21                 e.      "Person" means any individual, partnership, corporation, association, or
22
            other business or legal entity.
23
                   f.      "Relevant Period" means the period beginning at least March 1, 1995,
24
            through at least November 25, 2007.
25

26

27

28

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 1                                              D. PARTIES

 2                                                a. Plaintiff
 3
           9.        The State of Florida is assigned the rights giving rise to Count I from vendors that
 4
     sold CRTs or CRT Products, purchased directly from a Defendant, to Florida governmental
 5
     entities pursuant to a state contract, and is authorized to file under 15 U.S.C. §§ 15 and 26.
 6

 7         10.       The Attorney General of Florida is the chief legal officer of Florida, is the

 8   enforcement authority of Chapter 542, Florida Statutes, and is authorized by assignment, as
 9   described in the paragraph above, to file Count II seeking the full range of relief afforded by
10
     Chapter 542, Florida Statutes.
11
            11.      The Department of Legal Affairs of Florida is the enforcing authority for
12

13   violations of Chapter 501, Florida Statutes, and has authority to file Count III to enjoin any

14   person who has violated the Florida Deceptive and Unfair Trade Practices Act ("FDUTPA"), and

15   for actual damages on behalf of one or more individual consumers, businesses, and government
16
     entities in Florida, including direct and indirect purchases.
17
                                                b. Defendants
18
            12.      Defendant LG Electronics, Inc. ("LGE") is a corporation organized under the
19

20   laws ofKorea with its principal place ofbusiness located at LG Twin Towers, 20 Yeouido-dong,

21   Yeoungdeungpo-gu, Seoul150-721, South Korea. The company's name was changed from
22
     GoldStar Communications to LG Electronics, Inc. in 1995, the year in which it also acquired
23
     Zenith in the United States. In 2001, LGE transferred its CRT business to a 50/50 CRT joint
24
     venture with Defendant Koninklijke Philips Electronics N.V. a/k/a Royal Philips Electronics
25

26   N.V. forming LG.Philips Displays. During the Relevant Period, LGE manufactured, marketed,

27

28

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 1   sold and/or distributed CRTs and CRT Products, either directly or indirectly through its

 2   subsidiaries or affiliates, to customers throughout the United States.
 3
             13.     Defendant LG Electronics U.S.A., Inc. ("LGEUSA) is a Delaware corporation
 4
     with its principal place of business located at 1000 Sylvan Avenue, Englewood Cliffs, NJ 07632.
 5
     LGEUSA is a wholly-owned and controlled subsidiary of Defendant LGE. During the Relevant
 6

 7   Period, LGEUSA manufactured, marketed, sold and/or distributed CRT Products, either directly

 8   or indirectly through its subsidiaries or affiliates, to customers throughout the United States.
 9
     Defendant LGE dominated and controlled the finances, policies, and affairs of LGEUSA.
10
             14.    Defendant LG Electronics Taiwan Taipei Co., Ltd. ("LGETT") is a Taiwanese
11
     entity with its principal place of business located at 7F, No.47, Lane3, Jihu Road, NeiHu District,
12

13   Taipei City, Taiwan. LGETT is a wholly-owned and controlled subsidiary of Defendant LGE.

14   During the Relevant Period, LGETT manufactured, marketed, sold and/or distributed CRT
15   Products, either directly or indirectly through its subsidiaries or affiliates, to customers
16
     throughout the United States. Defendant LGE dominated and controlled the finances, policies,
17
     and affairs of LG ETT.
18

19           15.    Defendants LGE, LGEUSA, and LGETT are collectively referred to herein as

20   "LG."

21           16.    Defendant Koninklijke Philips Electronics N.V. a/kla Royal Philips Electronics
22
     N.V. ("Royal Philips") is a Dutch company with its principal place of business located at
23
     Amstelplein 2, Breitner Center, 1070 MX Amsterdam, The Netherlands. Royal Philips, founded
24
     in 1891, is one of the world's largest electronics companies, with 160,900 employees located in
25

26   over 60 countries. Royal Philips had sole ownership of its CRT business until2001, when it

27   transferred its CRT business to a 50/50 CRT joint venture with Defendant LG Electronics, Inc.,
28

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 1   forming LG.Philips Displays. In December 2005, as a result of decreasing demand and prices for

 2   CRTs and CRT Products, Royal Philips wrote off the remaining book value of 126 million Euros
 3
     of its investment and said it would not inject further capital into the joint venture. During the
 4
     Class Period, Royal Philips manufactured, marketed, sold and/or distributed CRTs and CRT
 5
     Products, either directly or indirectly through its subsidiaries or affiliates, to customers
 6
 7   throughout the United States.

 8          17.       Defendant Philips Electronics North America Corporation ("PENAC") is a
 9
     Delaware corporation with its principal place of business located at 1251 Avenue of the
10
     Americas, New York, NY 10020-ll 04. PENAC is a wholly-owned and controlled subsidiary of
11
     Defendant Royal Philips. During the Class Period, PENAC manufactured, marketed, sold and/or
12

13   distributed CRTs and CRT Products, either directly or indirectly through its subsidiaries or

14   affiliates, to customers throughout the United States. Defendant Royal Philips dominated and
15   controlled the finances, policies, and affairs ofPENAC.
16
            18.      Defendant Philips Electronics Industries (Taiwan), Ltd. ("Philips Taiwan") is a
17
     Taiwanese company with its principal place ofbusiness located at 15F 3-1 Yuanqu Street,
18

19   Nangang District, Taipei, Taiwan. Philips Taiwan is a subsidiary of Defendant Royal Philips.

20   During the Relevant Period, Philips Taiwan manufactured, marketed, sold and/or distributed

21   CRT Products, either directly or indirectly through its subsidiaries or affiliates, to customers
22
     throughout the United States. Defendant Royal Philips dominated and controlled the finances,
23
     policies, and affairs of Philips Taiwan.
24
           19.       Defendant Philips da Amazonia Industria Electronica Ltda. ("Philips Brazil") is a
25
26   Brazilian company with its principal place of business located at Av Torquato Tapajos 2236, 1

27   andar (parte 1), Flores, Manaus, AM 39048-660, Brazil. Philips Brazil is a wholly-owned and
28

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 1   controlled subsidiary of Defendant Royal Philips. During the Relevant Period, Philips Brazil

 2   manufactured, marketed, sold and/or distributed CRT Products, either directly or indirectly
 3
     through its subsidiaries or affiliates, to customers throughout the United States. Defendant Royal
 4
     Philips dominated and controlled the finances, policies, and affairs of Philips Brazil.
 5
            20.       Defendants Royal Philips, PENAC, Philips Taiwan, and Philips Brazil are
 6
 7   collectively referred to herein as "Philips."

 8          21.       Defendant Samsung Electronics Co., Ltd. ("SEC") is a South Korean company
 9
     with its principal place of business located at Samsung Main Building, 250, 2-ga, Taepyong-ro,
10
     Jung-gu, Seoul 100-742, South Korea. During the Relevant Period, SEC manufactured,
11
     marketed, sold and/or distributed CRT Products, either directly or indirectly through its
12

13   subsidiaries or affiliates, to customers throughout the United States.

14         22.        Defendant Samsung Electronics America, Inc. ("SEAl") is a New York
15
     corporation with its principal place of business located at 105 Challenger Road, 6th Floor,
16
     Ridgefield Park, New Jersey 07660. SEAl is a wholly-owned and controlled subsidiary of
17
     Defendant SEC. During the Relevant Period, SEAl manufactured, marketed, sold and/or
18

19   distributed CRT Products, either directly or indirectly through its subsidiaries or affiliates, to

20   customers throughout the United States. Defendant SEC dominated and controlled the finances,

21   policies, and affairs of SEAL
22
           23.       Defendant Samsung SDI Co., Ltd. f/k/a Samsung Display Device Co., Ltd.
23
     ("Samsung SDI"), is a South Korean company with its principal place ofbusiness located at 15th
24

25   -18th Floor, Samsung Life Insurance Building, 150, 2-ga, Taepyong-ro, Jung-gu, Seoul, 100-

26   716, South Korea. Samsung SDI is a public company. In 2002, Samsung SDI held a 34.3%

27   worldwide market share for CRTs; more than another other producer. During the Relevant
28

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 1   Period, Samsung SDI manufactured, marketed, sold and/or distributed CRTs, either directly or

 2   indirectly through its subsidiaries or affiliates, to customers throughout the United States.
 3
           24.       Defendant Samsung SDI America, Inc. ("Samsung SDI America") is a California
 4
     corporation with its principal place of business located at 3333 Michelson Drive, Suite 700,
 5
     Irvine, California. Samsung SDI America is a wholly-owned and controlled subsidiary of
 6

 7   Defendant Samsung SDL During the Relevant Period, Samsung SDI America manufactured,

 8   marketed, sold and/or distributed CRTs, either directly or indirectly through its subsidiaries or
 9
     affiliates, to customers throughout the United States. Defendant Samsung SDI dominated and
10
     controlled the finances, policies, and affairs of Samsung SDI America.
11
           25.      Defendant Samsung SDI Mexico S.A. de C.V. ("Samsung SDI Mexico") is a
12

13   Mexican company with its principal place of business located at Blvd. Los Olivos, No.21 014,

14   Parque Industrial El Florida, Tijuana, B.C. Mexico. Samsung SDI Mexico is a wholly-owned

15   and controlled subsidiary of Defendant Samsung SDL During the Relevant Period, Samsung SDI
16
     Mexico manufactured, marketed, sold and/or distributed CRTs to customers, either directly or
17
     indirectly through its subsidiaries or affiliates, throughout the United States. Defendant Samsung
18

19   SDI dominated and controlled the finances, policies, and affairs of Samsung SDI Mexico.

20         26.      Defendant Samsung SDI Brasil Ltda. ("Samsung SDI Brazil") is a Brazilian

21   company with its principal place of business located at Av. Eixo Norte Sui, SIN, Distrito
22
     Industrial, 69088-480 Manaus, Amazonas, BraziL Samsung SDI Brazil is a wholly-owned and
23
     controlled subsidiary of Defendant Samsung SDI. During the Relevant Period, Samsung SDI
24
     Brazil manufactured, marketed, sold and/or distributed CRTs to customers, either directly or
25

26   indirectly through its subsidiaries or affiliates, throughout the United States. Defendant Samsung

27   SDI dominated and controlled the finances, policies, and affairs of Samsung SDI Brazil.
28


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 1          27.      Defendant Shenzhen Samsung SDI Co., Ltd. ("Samsung SDI Shenzhen") is a

 2   Chinese company with its principal place of business located at Huanggang Bei Lu, Futian Gu,
 3
     Shenzhen, China. Samsung SDI Shenzhen is a wholly-owned and controlled subsidiary of
 4
     Defendant Samsung SDI. During the Relevant Period, Samsung SDI Shenzhen manufactured,
 5
     marketed, sold and/or distributed CRTs, either directly or indirectly through its subsidiaries or
 6
 7   affiliates, to customers throughout the United States. Defendant Samsung SDI dominated and

 8   controlled the finances, policies, and affairs of Samsung SDI Shenzhen.
 9
            28.     Defendant Tianjin Samsung SDI Co., Ltd. ("Samsung SDI Tianjin") is a Chinese
10
     company with its principal place of business located at Developing Zone ofYi-Xian Park,
11
     Wuqing County, Tianjin, China. Samsung SDI Tianjin is a wholly-owned and controlled
12

13   subsidiary of Defendant Samsung SDI. During the Relevant Period, Samsung SDI Tianjin

14   manufactured, marketed, sold and/or distributed CRTs, either directly or indirectly through its

15   subsidiaries or affiliates, to customers throughout the United States. Defendant Samsung SDI
16
     dominated and controlled the finances, policies, and affairs of Samsung SDI Tianjin.
17
           29.      Defendant Samsung SDI (Malaysia) Sdn. Bhd. ("Samsung SDI Malaysia") is a
18
19   Malaysian company with its principal place of business located at Lot 635 & 660, Kawasan

20   Perindustrian, Tuanku, Jaafar, 71450 Sungai Gadut, Negeri Semblian Darul Khusus, Malaysia.

21   Samsung SDI Malaysia is a wholly-owned and controlled subsidiary of Defendant Samsung SDI.
22
     During the Relevant Period, Samsung SDI Malaysia manufactured, marketed, sold and/or
23
     distributed CRTs, either directly or indirectly through its subsidiaries or affiliates, to customers
24
     throughout the United States. Defendant Samsung SDI dominated and controlled the finances,
25

26   policies, and affairs of Samsung SDI Malaysia.

27

28

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 1          30.      Defendants SEC, SEAl, Samsung SDI, Samsung SDI America, Samsung SDI

 2   Mexico, Samsung SDI Brazil, Samsung SDI Shenzhen, Samsung SDI Tianjin, and Samsung SDI
 3
     Malaysia are referred to collectively herein as "Samsung."
 4
            31.      Defendant Toshiba Corporation is a Japanese corporation with its principal place
 5
     of business at 1-1, Shibaura 1-chome, Minato-ku, Tokyo 105-8001, Japan. In 2001, Toshiba
 6
 7   Corporation held a 5-10% worldwide market share for CRTs used in televisions and computer

 8   monitors. In 2002, Toshiba Corporation entered into a joint venture with Defendant Panasonic
 9
     Corporation called MT Picture Display Co. ("MTPD"), Ltd. in which the entities consolidated
10
     their CRT businesses. During the Relevant Period, Toshiba Corporation manufactured, marketed
11
     sold and/or distributed CRTs and CRT Products, either directly or indirectly through its
12

13   subsidiaries or affiliates, to customers throughout the United States.

14          32.     Defendant Toshiba America, Inc. ("Toshiba America") is a Delaware corporation
15   with its principal place of business located at 1251 Avenue of the Americas, Suite 4110, New
16
     York, NY 10020. Toshiba America is a wholly-owned and controlled subsidiary of Defendant
17
     Toshiba Corporation. During the Relevant Period, Toshiba America manufactured, marketed,
18

19   sold and/or distributed CRT Products, either directly or indirectly through its subsidiaries or

20   affiliates, to customers throughout the United States. Defendant Toshiba Corporation dominated

21   and controlled the finances, policies, and affairs of Toshiba America.
22
           33.      Defendant Toshiba America Consumer Products, LLC ("TACP") is
23
     headquartered in 82 Totawa Rd., Wayne, New Jersey 07470-3114. TACP is a wholly-owned and
24
     controlled subsidiary of Defendant Toshiba Corporation through Toshiba America. During the
25

26   Relevant Period, TACP manufactured, marketed, sold and/or distributed CRT Products, either

27   directly or indirectly through its subsidiaries or affiliates, to customers throughout the United
28

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 1   States. Defendant Toshiba Corporation dominated and controlled the finances, policies, and

 2   affairs ofTACP.
 3
            34.      Defendant Toshiba America Information Systems, Inc. ("TAIS") is a California
 4
     corporation with its principal place of business located at 9740 Irvine Blvd., Irvine, California
 5
     92718. TAIS is a wholly-owned and controlled subsidiary of Toshiba Corporation through
 6

 7   Toshiba America. During the Relevant Period, TAIS manufactured, marketed, sold and/or

 8   distributed CRT Products, either directly or indirectly through its subsidiaries or affiliates, to
 9
     customers throughout the United States. Defendant Toshiba Corporation dominated and
10
     controlled the finances, policies, and affairs of TAIS.
11
           35.      Defendant Toshiba America Electronic Components, Inc. ("TAEC") is a
12

13   California corporation with its principal place of business located at 9775 Toledo Way, Irvine,

14   California 92618, and 19000 MacArthur Boulevard, Suite 400, Irvine, California 92612. TAEC
15   is a wholly-owned and controlled subsidiary of Toshiba America, which is a holding company
16
     for Defendant Toshiba Corporation. TAEC is the North American sales and marketing
17
     representative for Defendant MTPD. Before MTPD's formation in 2003, TAEC was the North
18

19   American engineering, manufacturing, marketing and sales arm of Defendant Toshiba

20   Corporation. During the Relevant Period, TAEC manufactured, marketed, sold and/or distributed

21   CRTs and CRT Products, either directly or indirectly through its subsidiaries or affiliates, to
22
     customers throughout the United States. Defendant Toshiba Corporation dominated and
23
     controlled the finances, policies, and affairs of TAEC.
24
           36.      Defendants Toshiba Corporation, Toshiba America, TACP, TAIS, and TAEC are
25

26   referred to collectively herein as "Toshiba."

27

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 1           37.     Defendant MT Picture Display Co., Ltd. ("MTPD") was established as a CRT

 2    joint venture between Defendants Panasonic Corporation and Toshiba Corporation. MTPD is a
 3
      Japanese entity with its principal place ofbusiness located at 1-1, Saiwai-cho, Takatsuki-shi,
 4
      Osaka 569-1193, Japan. On April3, 2007, Defendant Panasonic Corporation purchased the
 5
      remaining stake in MTPD, making it a wholly-owned subsidiary, and renaming it MT Picture
 6
 7    Display Co., Ltd. During the Relevant Period, MTPD manufactured, marketed, sold and/or

 8    distributed CRTs, either directly or indirectly through its subsidiaries or affiliates, to customers
 9
      throughout the United States.
10
            3 8.     Defendant Panasonic Corporation, which was at all times during the Relevant
11
      Period known as Matsushita Electric Industrial Co., Ltd. and became Panasonic Corporation on
12

13    October 1, 2008, is a Japanese entity with its principal place of business located at 1006 Oaza

14    Kadoma, Kadoma-shi, Osaka 571-8501, Japan. In 2002, Panasonic Corporation entered into a
15    CRT joint venture with Defendant Toshiba Corporation forming Defendant MTPD. Panasonic
16
      Corporation was the majority owner ofMTPD with a 64.5 percent ownership interest. On April
17
      3, 2007, Panasonic Corporation purchased the remaining 35.5 percent stake in the joint venture,
18

19   making MTPD a wholly-owned subsidiary of Panasonic Corporation. During the Relevant

20   Period, Panasonic Corporation manufactured, marketed, sold and/or distributed CRTs and CRT

21   Products, either directly or indirectly through its subsidiaries or affiliates, to customers
22
     throughout the United States.
23
            39.      Defendant Panasonic Corporation of North America ("Panasonic NA") is a
24

25   Delaware corporation with its principal place ofbusiness located at One Panasonic Way,

26   Secaucus, New Jersey. Panasonic NA is a wholly-owned and controlled subsidiary of Defendant

27   Panasonic Corporation. During the Relevant Period, Panasonic N A manufactured, marketed, sol
28

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 1   and/or distributed CRT Products, either directly or indirectly through its subsidiaries or affiliates,

 2   to customers throughout the United States. Defendant Panasonic Corporation dominated and
 3
     controlled the finances, policies, and affairs of Panasonic NA.
 4
           40.       Defendants Panasonic Corporation and Panasonic NA are collectively referred to
 5
     herein as "Panasonic."
 6
 7         41.       Defendant Beijing-Matsushita Color CRT Company, Ltd. ("BMCC") is a Chinese

 8   company with its principal place of business located at No.9, Jiuxianqiao N. Rd., Dashanzi

 9   Chaoyang District, Beijing, China. BMCC is a joint venture company, 50% of which is owned
10
     by Defendant MTPD. The other 50% ownership interest is held by Beijing Orient Electronics
11
     (Group) Co., Ltd., China National Electronics Import & Export Beijing Company (a China state-
12

13   owned enterprise), and Beijing Yayunchun Branch of the Industrial and Commercial Bank of

14   China, Ltd. (a China state-owned enterprise). Formed in 1987, BMCC was Matsushita's (n!k/a

15   Panasonic) first CRT manufacturing facility in China. BMCC is the second largest producer of
16
     CRTs in China. During the Relevant Period, BMCC manufactured, marketed, sold and/or
17
     distributed CRTs, either directly or indirectly through its subsidiaries or affiliates, to customers
18

19   throughout the United States.

20             42.   Defendant Hitachi, Ltd. is a Japanese company with its principal place of business

21   located at 6-1 Marunouchi Center Building 13F, Chiyoda-ku, Tokyo 100-8280, Japan. Hitachi
22
     Ltd. is the parent company for the Hitachi brand of CRT Products. In 1996, Hitachi, Ltd.'s
23
     worldwide market share for CRTs was approximately 20 percent. During the Relevant Period,
24
     Hitachi Ltd. manufactured, marketed, sold and/or distributed CRTs and CRT Products, either
25

26   directly or indirectly through its subsidiaries or affiliates, to customers throughout the United

27   States.
28

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 1         43.      Hitachi Displays, Ltd. ("Hitachi Displays") is a Japanese company with its

 2   principal place ofbusiness located at AKS Building, 3 Kandaneribeicho 3, Chiyoda-ku, Tokyo,
 3
     101-0022, Japan. In 2002, all the departments of planning, development, design, manufacturing
 4
     and sales concerned with the display business of Hitachi, Ltd. were spun off to create a separate
 5
     company called Hitachi Displays, Ltd. Hitachi Displays, Ltd. was originally established as
 6
 7   Mobara Works of Hitachi, Ltd. in Mobara City, Japan, in 1943. During the Relevant Period,

 8   Hitachi Displays and its predecessor companies manufactured, marketed, sold and/or distributed
 9   CRTs and CRT Products, either directly or indirectly through its subsidiaries or affiliates, to
10
     customers throughout the United States. Defendant Hitachi, Ltd. dominated and controlled the
11
     finances, policies, and affairs ofHitachi Displays.
12

13         44.      Hitachi Electronic Devices (USA), Inc. ("HEDUS") is a Delaware corporation

14   with its principal place of business located as 1000 Hurricane Shoals Road, Ste. D-1 00,

15   Lawrenceville, GA 30043. HEDUS is a subsidiary of Defendant Hitachi, Ltd. During the
16
     Relevant Period, HEDUS manufactured, marketed, sold and/or distributed CRTs to customers,
17
     either directly or indirectly through its subsidiaries or affiliates, to customers throughout the
18
19   United States. Defendant Hitachi, Ltd. dominated and controlled the finances, policies, and

20   affairs of HEDUS during the Relevant P~riod.

21         45.      Defendant Hitachi America, Ltd. ("Hitachi America") is a New York company
22
     with its principal place of business located at 2000 Sierra Point Parkway, Brisbane, California
23
     94005. Hitachi America is a wholly-owned and controlled subsidiary of Defendant Hitachi, Ltd.
24
     During the Relevant Period, Hitachi America sold and/or distributed CRTs and CRT Products,
25

26   either directly or indirectly through its subsidiaries or affiliates, to customers throughout the

27
28

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 1   United States. Defendant Hitachi, Ltd. dominated and controlled the finances, policies, and

 2   affairs of Hitachi America during the Relevant Period.
 3
            46.      Defendant Hitachi Asia, Ltd. ("Hitachi Asia") is a Singapore company with its
 4
     principal place ofbusiness located at 16 Collyer Quay, #20-00 Hitachi Tower, Singapore,
 5
     049318. Hitachi Asia is a wholly-owned and controlled subsidiary of Defendant Hitachi, Ltd.
 6

 7   During the Relevant Period, Hitachi Asia manufactured, marketed, sold and/or distributed CRTs

 8   and CRT Products, either directly or indirectly through its subsidiaries or affiliates, to customers
 9
     throughout the United States. Defendant Hitachi, Ltd. dominated and controlled the finances,
10
     policies, and affairs of Hitachi Asia during the Relevant Period.
11
            47.     Defendants Hitachi Ltd., Hitachi Displays, HEDUS, Hitachi America, and Hitachi
12

13   Asia are collectively referred to herein as "Hitachi."

14          48.     Defendant Chunghwa Picture Tubes Ltd. ("CPT") is a Taiwanese company with
15   its principal place ofbusiness located at 1127 Heping Road, Bade City, Taoyuan, Taiwan.
16
     During the Relevant Period, CPT manufactured, marketed, sold and/or distributed CRTs, both
17
     directly and through its wholly-owned and controlled subsidiaries in Malaysia, China, and
18
19   Scotland, to customers throughout the United States.

20         49.      Defendant CPTF Optronics Co., Ltd. ("CPTF") is a Chinese company with its

21   principal place ofbusiness located at N0.1 Xing Ye Road, Mawei Hi-tech Development Zone,
22
     Fuzhou, China. During the Relevant Period, CPTF manufactured, marketed, sold and/or
23
     distributed CRTs, either directly or indirectly through its subsidiaries or affiliates, to customers
24
     throughout the United States. Defendant CPT dominated and controlled the finances, policies,
25

26   and affairs of CPTF during the Relevant Period.

27
28

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 1          50.      Defendant Chunghwa Picture Tubes (Malaysia) Sdn. Bhd. ("Chunghwa

 2   Malaysia") is a Malaysian company with its principal place of business located at Lot 1, Subang
 3
     Hi-Tech Industrial Park, Batu Tiga, 4000 Shah Alam, Selangor Darul Ehsan, Malaysia.
 4
     Chunghwa Malaysia a wholly-owned and controlled subsidiary of Defendant Chunghwa Picture
 5
     Tubes. Chunghwa Malaysia is a leading worldwide supplier of CRTs. During the Relevant
 6

 7   Period, Chunghwa Malaysia manufactured, marketed, sold and/or distributed CRTs, either

 8   directly or indirectly through its subsidiaries or affiliates, to customers throughout the United
 9
     States. Defendant CPT dominated and controlled the finances, policies, and affairs of Chunghwa
10
     Malaysia during the Relevant Period.
11
            51.      Defendants CPT, CPTF, and Chunghwa Malaysia are collectively referred to
12
13   herein as "Chunghwa."

14          52.     Defendant IRICO Group Corporation ("IGC") is a Chinese corporation with its

15   principal place of business located at 1 Caihong Rd., Xianyang City, Shaanxi Province 712021.
16
     IGC is the parent company for multiple subsidiaries engaged in the manufacture, marketing, sale
17
     and/or distribution of CRTs. During the Relevant Period, IGC manufactured, marketed, sold
18

19   and/or distributed CRTs, either directly or indirectly through its subsidiaries or affiliates, to

20   customers throughout the United States.

21         53.      Defendant IRICO Display Devices Co., Ltd. C'IDDC") is a Chinese company
22
     with its principal place ofbusiness located at No. 16, Fenghui South Road West, District High-
23
     tech Development Zone, Xi'an, SXI 710075. IDDC is a partially-owned subsidiary of Defendant
24

25   IGC. In 2006, IDDC was China's top CRT maker. During the Relevant Period, IDDC

26   manufactured, marketed, sold and/or distributed CRTs, either directly or indirectly through its

27

28

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 1   subsidiaries or affiliates, to customers throughout the United States. Defendant IGC dominated

 2   and controlled the finances, policies and affairs of IDDC.
 3
            54.     Defendant IRICO Group Electronics Co., Ltd. ("IGE") is a Chinese company wi
 4
     its principal place of business located at 1 Caihong Rd., Xianyang City, Shaanxi Province
 5
     712021. IGE is a subsidiary of Defendant IGC. According to its website, IGE was the first CRT
 6
 7   manufacturer in China and one of the leading global manufacturers of CRTs. Their website also

 8   claims that in 2003, they were the largest CRT manufacturer in China in terms of production and
 9
     sales volume, sales revenue and aggregated profit and taxation. During the Relevant Period, IGE
10
     manufactured, marketed, sold and/or distributed CRTs, either directly or indirectly through its
11
     subsidiaries or affiliates, to customers throughout the United States. Defendant IGC dominated
12

13   and controlled the finances, policies and affairs of IGE.

14          55.     Defendants IGC, IDDC, and IGE are collectively referred to herein as "IRICO."
15          56.     Defendant Thai CRT Company, Ltd. ("Thai CRT") is a Thai company with its
16
     principal place of business located at 1/F Siam Cement Road, Bangsue Dusit, Bangkok,
17
     Thailand. Thai CRT is a subsidiary of Siam Cement Group. During the Relevant Period, Thai
18

19   CRT manufactured, marketed, sold and/or distributed CRTs, either directly or indirectly through

20   its subsidiaries or affiliates, to customers throughout the United States.

21         57.      Defendant Sarntel Color, Ltd. ("Samtel") is an Indian company with its principal
22
     place of business located at 52, Community Centre, New Friends Colony, New Delhi-110065.
23
     Samtel is India's largest exporter ofCRTs. During the Relevant Period, Samtel manufactured,
24

25   marketed, sold and/or distributed CRTs, either directly or indirectly through its subsidiaries or

26   affiliates, to customers throughout the United States.

27

28

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 1                                 E. CO-CONSPIRATORS AND AGENTS

 2             58.   Various other Persons, unknown to the State of Florida at the present, conspired
 3
     with the Defendants in the violations of law alleged in this Complaint. These co-conspirators
 4
     engaged in conduct and made statements in furtherance of the conspiracy.
 5
               59.   Any reference in this Complaint to any act, deed, or transaction by a corporation
 6

 7   means that the corporation engaged in the act, deed, or transaction by or through its officers,

 8   directors, agents, employees, or representatives while they were actively engaged in the
 9
     management, direction, control, or transaction of the corporation's business or affairs.
10
               60.   Defendants are also liable for acts done in furtherance of the alleged conspiracy
11
     by companies they acquired through mergers or acquisitions.
12

13             61.   Each of the Defendants named herein acted as the agent or joint venturer of or for

14   the other Defendants with respect to the acts, violations, and common course of conduct alleged
15
     herein.
16
                             F. INTERSTATE TRADE AND COMMERCE
17
            62.      Throughout the period of time covered by this Complaint, Defendants and their
18

19   co-conspirators engaged in the business of manufacturing, marketing, and selling CRTs in a

20   continuous and uninterrupted flow of interstate and foreign trade and commerce to consumers

21   located in Florida and the United States.
22
           63.       The price-fixing activities complained of herein were within the flow of and
23
     substantially affected interstate trade and commerce, as well as trade and commerce within the
24

25   State of Florida.

26         64.       Defendants' conduct had a direct, substantial, and reasonably foreseeable effect

27   on domestic interstate commerce within the United States, including Florida. These effects
28

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 1   proximately caused the domestic injuries alleged in this complaint in that governmental

 2   purchasers, businesses, consumers, and other end-payors paid more for CRT Products than they
 3
     would have absent the conspiracy.
 4
            65.       Defendants' conspiracy specifically targeted the United States market. The United
 5
     States has been and remains one of the most important markets for the ultimate consumption of
 6
 7   CRT Products, and therefore accounts for a significant portion ofDefendants' revenue.

 8         66.        The effect ofDefendants' anticompetitive conduct (higher prices for CRT
 9
     Products) did not change in any substantial way between the beginning ofthe process
10
     (overcharges for CRTs) and the end (overcharges for CRT monitors and televisions). Thus, the
11
     effect on prices proceeded without deviation or interruption from the CRT manufacturer to the
12
13   United States retail store. Therefore, there is a domestic injury here that is concrete, quantifiable

14   and directly traceable back to the Defendants' anticompetitive conduct.
15         67.        Most ofthe Defendants and/or their affiliates maintained corporate offices in the
16
     United States. Most of the Defendants had marketing, sales, and account management personnel
17
     specifically designated or designed to handle United States customer accounts and the United
18

19   States market for CRTs and/or CRT Products. For example, most of the Defendants, if not all,

20   sponsored advertising within the United States for the purpose of maintaining and increasing

21   CRT Product sales and provided other marketing support.
22
           68.        Defendants sold billions of dollars of price-fixed CRTs and products containing
23
     price-fixed CRTs to the United States and to OEMs that sold CRT Products directly into the
24
25   United States. Those OEMs manufactured millions of CRT Products destined for sale in the

26   United States.

27         69.        In furtherance of the conspiracy, Defendants regularly monitored "street prices"
28

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 1   or retail prices of CRT Products, including those in the United States, to ensure that the cartel

 2   had set profit-maximizing prices for CRTs.
 3
            70.      Defendants' price-fixing activities directly and substantially affected the price of
 4
     CRTs and CRT Products purchased in the United States, including Florida. Defendants
 5
     intentionally sent price-fixed CRTs into a stream of commerce destined for the United States
 6
 7   with the expectation of producing a substantial adverse effect in the United States, and within

 8   Florida, in the form of inflated prices for CRTs and CRT Products. The artificial inflation of
 9
     prices for CRT Products was a foreseeable and immediate consequence of Defendants' illegal
10
     activities. Accordingly, Defendants' unlawful conduct directly and substantially affected the
11
     price of CRT Products and unreasonably restrained commerce within Florida.
12

13         71.      Defendants' conspiracy also affected the activities of the Defendants, which in

14   turn had a substantial effect on interstate commerce, as well as trade and commerce within the

15   State of Florida.
16
                                     G. FACTUALBACKGROUND
17
                                            a. CRT Background
18
           72.      CRT technology was developed over a century ago. A commercially practical
19

20   CRT television was first made in 1931 but it was only after the RCA Corporation introduced the

21   product at the 1939 World's Fair that it became widely available to consumers. Since that time,
22   CRTs have become commonplace, and are widely used in many display products, including
23
     televisions, computer monitors, oscilloscopes, air traffic control monitors, and ATMs. Large
24
     public displays, such as scoreboards at sports arenas, can consist of thousands of individual
25

26   single color CRTs.

27         73.      During the Relevant Period, this meant sales of millions ofCRTs and products

28   containing CRTs which resulted in billions of dollars in annual profits to the Defendants.

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 1                                       b. CRT Market Dynamics

 2          74.       The CRT market is structurally conducive to the type of collusion alleged in this
 3
     Complaint because of characteristics such as market concentration, ease of information sharing,
 4
     the consolidation of manufacturers, multiple interrelated business relationships, significant
 5
     barriers to entry, maturity ofthe CRT market, and the homogeneity of products.
 6
 7                    i. Market Concentration

 8         75.        During the Relevant Period, the CRT industry was dominated by relatively few
 9
     companies. In 2004, Samsung SDI, LG.Philips Displays, MTPD and Chunghwa together held a
10
     collective 78% share of the global CRT market. This high degree of market concentration has
11
     facilitated coordination since there are fewer cartel members among which to coordinate pricing
12

13   or allocate markets, making it easier to monitor the pricing and production of the cartel members.

14                    ii. Information Sharing
15         76.       There have been frequent opportunities for Defendants to discuss and exchange
16
     competitive information: common membership in trade associations for the CRTs market and
17
     related markets (e.g., TFT-LCD); interrelated business arrangements (i.e. joint ventures);
18
19   allegiances between companies in certain countries; and relationships between the executives of

20   certain companies. Communications between Defendants took place through the use of meetings,

21   telephone calls, e-mails, and instant messages. Defendants took advantage of these opportunities
22
     to discuss and agree upon their pricing for CRTs.
23
           77.       Defendants Chunghwa, Hitachi, and Samsung are all members of the Society for
24

25   Information Display. Defendants Samsung and LGE are two ofthe'co-founders ofthe Korea

26   Display Industry Association. Similarly, LGE, LG.Philips Displays, and Samsung were all

27   members of the Electronic Display Industrial Research Association. Plaintiffbelieves that
28

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     Defendants discussed and agreed upon pricing for CRTs under the guise of these trade

 2   associations. Defendants implemented and monitored the conspiracy by exchanging proprietary
 3
     and competitively sensitive information at these trade association meetings.
 4
                      iii. Consolidation
 5
           78.        The CRT Product industry also experienced a significant degree of consolidation
 6
 7   during the Relevant Period, including, but not limited to: (a) the creation of LG.Philips Displays

 8   in 2001 as a joint venture between Royal Philips and LGE.; and (b) the 2002 merger of Toshiba
 9
     Corporation and Matsushita/Panasonic's CRT business into MTPD.
10
           79.        Defendants also consolidated their manufacturing facilities in lower cost venues,
11
     such as China, and reduced manufacturing capacity to artificially inflate prices.
12

13                    iv. Multiple Interrelated Business Relationships

14         80.        Multiple business relationships between Defendants have blurred the lines of

15   competition and provided ample opportunity for Defendants in the interconnected CRT industry
16
     to collude. These business relationships have also created a unity of interest among competitors,
17
     making the conspiracy easier to implement and to enforce than without such relationships.
18

19         81.        The high degree of cooperation among Defendants in the CRTs market include

20   the following:

21                    a.     The formation of the CRT joint venture LG.Philips Displays in 2001 by
22
            Defendants LGE and Royal Philips.
23
                      b.     The formation of the CRT joint venture MTPD in 2003 by Defendants
24

25          Toshiba Corporation and Panasonic Corporation.

26                    c.     In 1995, Defendant Chunghwa entered into a technology transfer

27          agreement with Defendant Toshiba for large CRTs.
28

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 1                    d.      Defendant Samtel claims to have supplied CRTs to Defendants LG,

 2           Samsung, Philips, and Panasonic.
 3
                      v. High Costs of Entry into the Industry
 4
            82.       To potential newcomers, the CRT industry presents substantial barriers to entry,
 5
     which would require substantial time, resources, and industry knowledge. It is extremely
 6
 7   unlikely that, at this point in time, a new producer would want to try to enter the CRT market in

 8   light of the declining demand for CRT Products.
 9
                     vi. The Maturity of the CRT Product Market
10
            83.       Typical characteristics of a new industry include rapid growth, frequent
11
     innovation, and high profits. A mature industry, such as the CRT market, is characterized by slim
12

13   profit margins, which create a strong motivation for competitors to collude.

14          84.      CRT monitors accounted for 94.5 percent of the retail market for computer
15   monitors in North America in 1999. Although that figure had dropped to 73 percent by 2002, it
16
     was still a substantial share of the market.
17
           85.       CRT televisions accounted for 73 percent of the North American television
18

19   market in 2004 and still held a 46 percent market share at the end of2006. Globally, CRT

20   televisions accounted for 75 percent of TV units in 2006.

21                   vii. Homogeneity of CRT Products
22
           86.       CRTs are commodity-like products that are manufactured in standardized sizes.
23
     One Defendant's CRT for a particular application, such as a particular size television or
24

25   computer monitor, would be substitutable for another's. Defendants sold and Plaintiff purchased

26   CRT Products primarily on the basis of price.

27

28

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 1          87.       Forming and sustaining a cartel is easier when the product in question is

 2   commodity-like because it is easier to come to an agreement on prices to charge and to monitor
 3
     the agreed-upon prices.
 4
                                         c. Pre-Conspiracy Market
 5
            88.       In the late 1980s, the CRTs business became more international and Defendants
 6
 7   began to serve customers that were also being served by other international companies. At this

 8   time, the employees of Defendants would encounter employees from their competitors when
 9
     visiting their customers, and a culture of cooperation developed, whereby these employees woul
10
     exchange market information on production, capacity, and customers.
11
                         H. DEFENDANTS' ANTICOMPETITIVE CONDUCT
12

13         89.       Upon information and belief, during a time when the demand for CRT products

14   was declining, Defendants and their co-conspirators engaged in a contract, combination, trust, or

15   conspiracy in order to control and maintain profitable prices of CRTs. The effect of this unlawful
16
     behavior has been to raise, fix, maintain, and/or stabilize the prices at which Defendants and co-
17
     conspirators sold CRTs to artificially inflated levels from at least March 1, 1995, through at least
18

19   November 25,2007.

20         90.       The conspiracy for CRTs was carried out through a combination of group and

21   bilateral meetings. Initially, from 1995-1996, informal bilateral discussions were the primary
22
     method of communication between Defendants and occurred on an ad hoc basis. During this
23
     period, representatives from Defendants LG and Samsung visited the other Defendant
24
     manufacturers, including Philips, Chunghwa, Thai CRT, Hitachi, Toshiba, and Panasonic, to
25

26   discuss raising prices for CRTs generally and to specific customers. These meetings took place

27   in Taiwan, Thailand, Japan, Malaysia, Indonesia, and Singapore.
28

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 1          91.     Defendants Samsung, Chunghwa and LG also attended several ad hoc group

 2   meetings during this period. The participants at these group meetings discussed increasing prices
 3
     forCRTs.
 4
            92.     Group meetings became more prevalent as more manufacturers formally entered
 5
     the conspiracy. Beginning in 1997, Defendants began to meet in a more organized, systematic
 6
 7   fashion, and a formal system of multilateral and bilateral meetings was put in place. Defendants'

 8   representatives attended hundreds of these meetings during the Relevant Period.
 9
           93.      The overall CRT conspiracy raised and stabilized worldwide prices (including
10
     United States prices) that Defendants charged for CRTs.
11
                                             i. Glass Meetings
12

13         94.      Defendants held meetings at secret locations, and discussed price forecasts,

14   volume, allocation, and supply and demand for CRTs ("Glass Meetings").

15
           95.      At these meetings, Defendants agreed to fix the price ofCRTs and reduce the
16
     output of CRTs. Defendants exchanged information on inventories, production, sales, and
17
     exports. This information was exchanged in ways designed to enable the attendees to agree on
18

19   what the price should be for CRTs.

20         96.      All Glass Meetings, as detailed below, had a fairly similar structure. The

21   attendees first exchanged competitive information, such as proposed future CRT pricing, sales
22
     volume, inventory levels, production capacity, exports, customer orders, price trends, and
23
     forecasts of sales volumes for coming months. The attendees also updated previously provided
24
     information. At each meeting, one attendee was designated as "Chairman," which was a rotating
25

26   position, who then wrote the information provided on a whiteboard. The attendees then used this

27   information to discuss and agree upon what price each would charge for CRTs in the following
28

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 1   month or quarter. Target prices, price increases, so-called "bottom" prices, and price ranges for

 2   CRTs were discussed and agreed upon. The attendees also discussed and agreed upon prices of
 3
     CRTs that were sold to specific customers, and agreed upon target prices to be used in
 4
     negotiations with large customers. Having analyzed the supply and demand of CRTs, the
 5
     attendees would also discuss and agree upon production output of CRTs. During periods of
 6

 7   oversupply ofCRTs, the focus of the attendees turned to making controlled and coordinated

 8   price reductions, referred to as setting a "bottom price."
 9
           97.       Top Meetings, the first level of Glass Meetings, were attended by high-level
10
     company executives including CEOs, Presidents, and Vice Presidents and occurred less
11
     frequently, generally quarterly. Because the attendees at Top Meetings were the decision-makers,
12

13   and because they had more reliable information, these meetings resulted in price-fixing

14   agreements ofCRTs. Top Meetings were focused on making long-term agreements and

15
     enforcing compliance of the cartel's agreements, as well as resolving disputes.
16
           98.      Management Meetings, the second level of meetings, were attended by the
17
     Defendants' high level sales managers and typically occurred monthly. Attendees at
18

19   Management Meetings handled the implementation of the agreements made at Top Meetings.

20         99.      Working Level Meetings, the third level of meetings, were attended by lower

21   level sales and marketing employees, and generally took place weekly or monthly. Working
22
     Level Meetings were mostly limited to exchanging information and discussing pricing of CRTs
23
     because these lower-level employees did not have authority to enter into agreements. The
24

25   attendees transmitted the competitive information received at meetings up the corporate ladder to

26   those employees with pricing authority. Working Level Meetings were more localized and

27   generally took place near Defendants' factories, so that the Taiwanese manufacturers' employees
28

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 1   met in Taiwan, the Korean manufacturers' employees met in Korea, the Chinese in China,

 2   among others.
 3
            100.     The Chinese Glass Meetings began in 1998 and occurred monthly following a
 4
     Top or Management Meeting. The principal purpose of these meetings was to report to the
 5
     Chinese manufacturers what had been decided at the most recent Glass Meeting. Participants at
 6

 7   the Chinese meetings included the manufacturers located in China, such as IRICO and BMCC,

 8   as well as the China-based branches of the other Defendants, including, but not limited to,
 9   Samsung SDI Shenzhen, Samsung SDI Tianjin, and CPTF.
10
            101.     Occasionally, Glass Meetings also occurred in various European countries.
11
     Attendees at these meetings included Defendants with subsidiaries and/or manufacturing
12

13   facilities located in Europe, including Philips, LG, Chunghwa, Samsung and IRICO.

14          102.     Glass Meetings occurred in Taiwan, South Korea, Europe, China, Singapore,

15   Japan, Indonesia, Thailand, and Malaysia during the Relevant Period.
16
            103.     Examples of specific agreements reached at the Glass Meetings include, but are
17
     not limited to, the following:
18

19                   a.     agreements on CRT prices, including establishing target prices, "bottom"

20          prices, price ranges, and price guidelines;

21                   b.     placing agreed-upon price differentials on various attributes ofCRTs, such
22
            as quality or certain technical specifications;
23
                     c.     agreements on pricing for intra-company CRT sales to vertically
24

25          integrated customers;

26                   d.     agreements as to what to tell customers about the reason for a price

27          mcrease;
28

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 1                  e.     agreements to coordinate with competitors that did not attend the group

 2          meetings and agreements with them to abide by the agreed-upon pricing;
 3
                    f.     agreements to coordinate pricing with CRT manufacturers in other
 4
            geographic markets such as Brazil, Europe, and India;
 5
                    g.     agreements to exchange pertinent information regarding shipments,
 6
 7          capacity, production, prices, and customers demands;

 8                  h.     agreements to coordinate uniform public statements regarding available
 9
            capacity and supply;
10
                    1.     agreements to allocate both overall market shares and share of a particular
11
            customer's purchases;
12
13                 J.      agreements to allocate customers;

14                  k.     agreements regarding capacity, including agreements to restrict output and

15          to audit compliance with such agreements; and
16
                    I.     agreements to keep their meetings secret.
17
           104.     Defendants also agreed on the prices at which some of the Defendants would sell
18
19   CRTs to their own corporate subsidiaries and affiliates that manufactured the end products, i.e.

20   televisions and computer monitors. Defendants were aware that it was important to keep internal

21   pricing to their affiliated OEMs at a high enough level to support the high CRT prices set for
22
     other OEMs in the market. By keeping both prices at the same levels, Defendants ensured that all
23
     direct-purchaser OEMs paid supracompetitive prices for CRTs.
24
           I 05.    Defendants knew and discussed at Glass Meetings the significant impact that the
25

26   price of CRTs had on the cost of the finished CRT Products. Upon information and belief, and

27   similar to CRTs, the market for CRT Products was a mature one and profit margins were slim.
28

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 1   Therefore, Defendants concluded that they needed to make their price increase on CRTs high

 2   enough so that their direct customers (CRT television and monitor manufacturers) would be able
 3
     to justify a corresponding price increase to their customers. Defendants thus ensured that price
 4
     increases for CRTs were passed on to indirect purchasers of CRT Products.
 5
            106.    Defendants monitored each other's adherence to these agreements in several
 6
 7   ways. For example, Defendants sought confirmation of pricing both from customers and from

 8   employees of the Defendants themselves. Cheating, when it did occur, was addressed in at least
 9
     four different ways: 1) monitoring; 2) attendees at meetings challenging other attendees for not
10
     abiding by an agreement; 3) threatening to undermine a competitor at one of its principal
11
     customers; and 4) recognizing that there was a mutual interest in abiding by the target price and
12

13   the agreements that had been made.

14          107.    Defendants' collusion was possible and extremely successful because of the
15   nature of the CRT industry, which included high concentration, barriers to entry, standardized
16
     products, cooperative arrangements, information exchanges, and because of the blatant nature of
17
     the terms of the conspiracy.
18

19         108.     Additionally, "Green Meetings" were meetings held on golf courses, which were

20   generally attended by top and management level employees of the Defendants.

21                             ii. Bilateral Meetings and Communications
22
           109.     Throughout the Relevant Period, Defendants supplemented their group meetings
23
     with bilateral discussions. These bilateral discussions occurred on a frequent, ad hoc basis, often
24
     in-between the group meetings, and were more informal than the group meetings. These
25

26   discussions usually took place between sales and marketing employees and consisted of in-

27   person meetings, telephone calls, and/or e-mails.
28

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 1           110.   Defendants had bilateral discussions in order to exchange information about past

 2   and future pricing, confirm production levels, share sales order information, confirm pricing
 3
     rumors, and coordinate pricing with manufacturers in other geographic locations, including
 4
     Brazil, Mexico and Europe.
 5
             111.   Defendants also engaged bilateral discussions during price negotiations with
 6

 7   customers. To avoid being persuaded by customers to lower their prices, supervisors took into

 8   account the information gained from these communications in determining the price to offer to a
 9
     customer.
10
             112.   Upon information and belief, bilateral meetings supplemented group meetings an
11
     were used to coordinate pricing. Frequently, shortly after a Top or Management Meeting,
12

13   Defendants that had attended these meetings would meet bilaterally with non-attending

14   manufacturers to inform them of the CRT pricing and/or output agreements that had been
15   reached during the group meeting. For example, Samsung had a relationship with Hitachi and
16
     was responsible for communicating CRT pricing agreements to Hitachi. LG had a relationship
17
     with Toshiba and was responsible for communicating CRT pricing agreements to Toshiba.
18

19   Similarly, Thai CRT had a relationship with Samtel and was responsible for communicating

20   CRT pricing agreements to Samtel. After these meetings, Hitachi, Toshiba, and Samtel

21   implemented the agreed-upon pricing. Hitachi and Toshiba occasionally attended the Glass
22
     Meetings. Thus, Hitachi, Toshiba, and Samtel participated in the conspiracy to fix the prices of
23
     CRTs.
24
25     iii. Defendants' and Co-Conspirators' Participation in Group and Bilateral Discussions

26           113.   Beginning in 1995, examples of Defendants' participation in Glass Meetings and

27   bilateral communications include, but are not limited to, the following:
28

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 1                   a.     From at least 1995 through 2007, Defendant Samsung, through Samsung

 2          SDI, Samsung SDI Malaysia, Samsung SDI Shenzhen, and Samsung SDI Tianjin,
 3
            Samsung SDI America, Samsung SDI Brazil, and Samsung SDI Mexico, participated in
 4
            200 or more Glass Meetings at all levels. A substantial number of the meetings were
 5
            attended by high ranking Samsung executives. In addition, Samsung regularly engaged in
 6
 7          bilateral discussions with each of the other Defendants. Through these discussions,

 8          Samsung agreed on prices and supply levels for CRTs.
 9
                     b.     Defendants SEC and SEAI participated or were represented in the Glass
10
            Meetings and became an important part of the agreements entered into at the Glass
11
            Meetings. To the extent Samsung entities sold and/or distributed CRT Products, they had
12

13          an important role in the conspiracy since Defendants wanted to ensure that the prices for

14          CRT Products paid by direct purchasers would not undercut the CRT pricing agreements

15          reached at the Glass Meetings. Thus, SEC and SEAl were active participants in the
16
            alleged conspiracy.
17
                    c.      From at least 1995 through 2001, Defendant LG, through LGE,
18

19          participated in 100 or more Glass Meetings at all levels. After 2001, LG participated in

20          the CRT conspiracy through its joint venture with Royal Philips, LG.Philips Displays. A

21          substantial number of these meetings were attended by high-ranking LG executives. LG
22
           also engaged in bilateral discussions with each of the other Defendants on a regular basis.
23
           Through these discussions, LG agreed on prices and supply levels for CRTs.
24
                    d.      Defendants LGEUSA and LGETT participated or were represented in the
25

26         Glass Meetings and became an important part of the agreements entered into at the Glass

27         Meetings. To the extent LG entities sold and/or distributed CRT Products, they had an
28

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 1          important role in the conspiracy since Defendants wanted to ensure that the prices for

 2          CRT Products paid by direct purchasers would not undercut the CRT pricing agreements
 3
            reached at the Glass Meetings. Thus, LGEUSA and LGETT were active participants in
 4
            the alleged conspiracy. After 2001, LG participated in the CRT conspiracy through its
 5
            joint venture with Royal Philips, LG.Philips Displays.
 6

 7                  e.     Between at least 1996 and 2001, Defendant Philips, through Royal Philips

 8          and PENAC, participated in 100 or more Glass Meetings at all levels. After 2001, Philips
 9
            participated in the alleged CRT conspiracy through its joint venture with LGE,
10
            LG.Philips Displays. A substantial number of these meetings were attended by high level
11
            executives from Philips. Philips also engaged in numerous bilateral discussions with
12

13          other Defendants. Through these discussions, Philips agreed on prices and supply levels

14          for CRTs.

15                  f.     Defendants Philips Brazil and Philips Taiwan participated or were
16
            represented in the Glass Meetings and became an important part of the agreements
17
            entered into at the Glass Meetings. To the extent Philips entities sold and/or distributed
18

19          CRT Products, they had an important role in the conspiracy since Defendants wanted to

20          ensure that the prices for CRT Products paid by direct purchasers would not undercut the

21          CRT pricing agreements reached at the Glass Meetings. Thus, Philips Brazil and Philips
22
            Taiwan were active participants in the alleged conspiracy. After 2001, Philips
23
            participated in the alleged CRT conspiracy through its joint venture with LGE,
24
            LG.Philips Displays.
25

26                  g.     From at least 1995 through 2006, Defendant Chunghwa, through CPT,

27          CPTF, Chunghwa Malaysia, and representation from their factory in Scotland,
28

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 1          participated in 100 or more Glass Meetings at all levels. A substantial number of these

 2          meetings were attended by the highest ranking executives from Chunghwa, including the
 3
            former Chairman and CEO of CPT, C.Y. Lin. Chunghwa also engaged in bilateral
 4
            discussions with each of the other Defendants on a regular basis. Through these
 5
            discussions, Chunghwa agreed on prices and supply levels for CRTs.
 6
 7                  h.     Between at least 1995 and 2003, Defendant Toshiba, through Toshiba

 8          Corporation and TAEC, participated in several Glass Meetings. After 2003, Toshiba
 9
            participated in the CRT conspiracy through its joint venture with Panasonic Corporation,
10
            MTPD. These meetings were attended by high-level sales managers from Toshiba and
11
            MTPD. Toshiba also engaged in multiple bilateral discussions with other Defendants,
12

13          particularly with LG. Through these discussions, Toshiba agreed on prices and supply

14          levels for CRTs.

15
                    1.     Defendants Toshiba America, TACP and TAIS participated or were
16
            represented in the Glass Meetings and became an important part of the agreements
17
            entered into at the Glass Meetings. To the extent Toshiba entities sold and/or distributed
18

19          CRT Products, they had an important role in the conspiracy since Defendants wanted to

20          ensure that the prices for CRT Products paid by direct purchasers would not undercut the

21          CRT pricing agreements reached at the Glass Meetings. Thus, Toshiba America, TACP
22
            and TAIS were active participants in the alleged conspiracy. After 2003, Toshiba
23
            participated in the CRT conspiracy through its joint venture with Panasonic Corporation,
24

25          MTPD.

26                 J.      Between at least 1996 and 2001, Defendant Hitachi, through Hitachi, Ltd.,

27          and Hitachi America, HEDUS, Hitachi Asia, participated in several Glass Meetings
28

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           which included attendance by high-level sales managers from Hitachi. Hitachi also

 2         engaged in multiple bilateral discussions with other Defendants, particularly with
 3
           Samsung. Through these discussions, Hitachi agreed on prices and supply levels for
 4
           CRTs.
 5
                    k.      Defendant Hitachi Displays participated or was represented in the Glass
 6
 7         Meetings and became an important part of the agreements entered into at the Glass

 8         Meetings. To the extent Hitachi entities sold and/or distributed CRT Products, they had

 9         an important role in the conspiracy since Defendants wanted to ensure that the prices for
10
           CRT Products paid by direct purchasers would not undercut the CRT pricing agreements
11
           reached at the Glass Meetings. Thus, Hitachi Displays was an active participant in the
12

13         alleged conspiracy.

14                  1.      Between at least 1996 and 2003, Defendant Panasonic, through Panasonic

15         Corporation (known throughout the Relevant Period as Matsushita Electric Industrial Co.
16
           Ltd.), participated in several Glass Meetings. After 2003, Panasonic participated in the
17
           CRT conspiracy through its joint venture with Toshiba Corporation, MTPD. These
18

19         meetings were attended by high-level sales managers from Panasonic and MTPD.

20         Panasonic also engaged in multiple bilateral discussions with other Defendants. Through

21         these discussions, Panasonic agreed on prices and supply levels for CRTs.
22
                    m.      Defendant Panasonic NA participated or was represented in the Glass
23
           Meetings and became an important part of the agreements entered into at the Glass
24
           Meetings. To the extent Panasonic entities sold and/or distributed CRT Products, they
25

26         had an important role in the conspiracy since Defendants wanted to ensure that the prices

27         for CRT Products paid by direct purchasers would not undercut the CRT pricing
28

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 1          agreements reached at the Glass Meetings. Thus, Panasonic NA was an active participant

 2          in the alleged conspiracy. After 2003, Panasonic participated in the CRT conspiracy
 3
            through its joint venture with Toshiba Corporation, MTPD.
 4
                     n.     Between at least 2003 and 2006, Defendant MTPD participated in
 5
            multiple Glass Meetings and in fact led many of these meetings during the latter years of
 6

 7          the conspiracy. These meetings were attended by high-level sales managers from MTPD.

 8          In addition, MTPD engaged in bilateral discussions with other Defendants. Through thes
 9
            discussions, MTPD agreed on prices and supply levels for CRTs.
10
                    o.      From at least 1998 and 2007, Defendant BMCC participated in multiple
11
            Glass Meetings. These meetings were attended by high level sales managers from
12

13          BMCC. BMCC also engaged in multiple bilateral discussions with other Defendants,

14          particularly the other Chinese CRT manufacturers. Through these discussions, BMCC
15          agreed on prices and supply levels for CRTs.
16
                    p.      Between at least 1998 and 2007, Defendant IRICO, through IGC, IGE,
17
            and IDDC, participated in multiple Glass Meetings. These meetings were attended by the
18

19          highest ranking executives from IRICO. IRICO also engaged in multiple bilateral

20         discussions with other Defendants, particularly with other Chinese manufacturers.

21          Through these discussions, IRICO agreed on prices and supply levels for CRTs.
22
                    q.      From at least 1997 through 2006 Defendant Thai CRT participated in
23
            multiple Glass Meetings. These meetings were attended by the highest ranking executive
24
           from Thai CRT. Thai CRT also engaged in multiple bilateral discussions with other
25

26          Defendants, particularly with Sarntel. Through these discussions, Thai CRT agreed on

27         prices and supply levels for CRTs.
28

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 1                  r.      From at least 1998 through 2006, Defendant Samtel participated in

 2          multiple bilateral discussions with other Defendants, particularly with Thai CRT. These
 3
            meetings were attended by high level executives from Samtel. Through these discussions,
 4
            Samtel agreed on prices and supply levels for CRTs.
 5
                    s.      When Plaintiff refers to a corporate family or companies by a single name
 6
 7          in its allegations of participation in the conspiracy, Plaintiff is alleging that one or more

 8          employees or agents of entities within the corporate family engaged in conspiratorial
 9
            meetings on behalf of every company in that family. In fact, the individual participants in
10
            the conspiratorial meetings and discussions did not always know the corporate affiliation
11
            of their counterparts, nor did they distinguish between the entities within a corporate
12

13          family. The individual participants entered into agreements on behalf of, and reported

14          these meetings and discussions to, their respective corporate families. As a result, the

15          entire corporate family was represented in meetings and discussions by their agents and
16
            was a party to the agreements reached in them.
17
                              iv. The CRT Market Durine. the Conspiracy
18

19         114.     Until recently, CRTs were the dominant technology used in displays such as

20   television and computer monitors. During the Relevant Period, this translated into the sale of

21   millions of CRT Products, resulting in billions of dollars in annual profits to the Defendants.
22
           115.     The following data was reported by Stanford Resources, Inc., a market research
23
     firm focused on the global electronic display industry:
24
25        Year           Units Sold     Revenue (billion US         Average Selling Price Per Unit
                         (millions)          dollars)
26         1998            90.5                 $18.9                             $208
27         1999            106.3                $19.2                             $181
         . 2000            119.0                $28.0                             $235
28

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 1          116.    During the Relevant Period, North America was the largest market for CRT

 2   televisions and computer monitors. The 1995 worldwide market for CRT monitors was 57.8
 3
     million units, 28 million of which (48.5 percent) were consumed in North America. By 2002,
 4
     North America still consumed around 35 percent of the world's CRT monitor supply.
 5
            117.    Defendants' collusion is evidenced by unusual price behavior in the CRT Product
 6

 7   market during the Relevant Period. Despite industry predictions that the price of CRT Products

 8   would drop, and the existence of economic conditions warranting a drop in prices, CRT Product
 9
     prices remained stable.
10
            118.    In early 1999, despite declining production costs and the entry of flat panel
11
     display products, the price oflarge-sized CRTs actually increased. Although the price increase
12

13   was alleged to have been based on increasing global demand, this price increase was in fact a

14   result of the collusive conduct herein alleged.
15          119.    After experiencing oversupply of 17" CRTs in the second half of 1999, the
16
     average selling price of CRTs rose again in early 2000. This price increase was unlike most other
17
     PC-related products.
18

19          120.    Defendants also conspired to limit the production ofCRTs by shutting down

20   production lines for days at a time and closing or consolidating their manufacturing facilities.

21         121.     For example, the Defendants' CRT factory utilization percentage fell from 90
22
     percent in the third quarter of2000 to 62 percent in the first quarter of2001. There were sudden
23
     drops in factory utilization throughout the Relevant Period but to a lesser degree. Upon
24
     information and belief, Plaintiff alleges that these sudden, coordinated drops in factory utilizatio
25

26   by the Defendants were the result of Defendants' agreements to decrease output in order to

27   stabilize the prices of CRTs.
28

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 1          122.    Early in the Relevant Period, there were not only periods of unnatural and

 2   sustained price stability, but there were also increases in prices of CRTs. These prices increases
 3
     were despite the declining demand due to the approaching obsolescence of CRTs caused by the
 4
     emergence of a new, potentially superior and clearly more popular, substitutable technology.
 5
            123.    Later in the Relevant Period, while demand in the United States for CRT Products
 6
 7   continued to decline, Defendants' conspiracy was effective in moderating the normal downward

 8   pressures on prices for CRTs caused by the entry and popularity of the new generation LCD
 9
     panels and plasma display products.
10
           124.     The price increases and later relative price stability in the market for CRTs during
11
     the Relevant Period are inconsistent with a competitive market for a product facing rapidly
12

13   decreasing demand caused by a new, substitutable technology.

14                             v. Criminal and International Proceedings
15         125.     In August 2011, Samsung SDI paid a $32,000,000 fine to the United States
16
     Department of Justice and pled guilty to violating Section 1 of the Sherman Act by fixing prices,
17
     reducing output and allocating market shares of color display tubes from at least as early as
18

19   January 1997 until at least as late as March 2006.

20         126.     The Samsung SDI plea agreement stated that, in furtherance of the conspiracy,

21   Samsung SDI, through its officers and employees, engaged in discussions and attended meetings
22
     with representatives of other major color display tube producers and that in these meetings,
23
     agreements were reached to fix prices, reduce output, and allocate market shares of color display
24

25   tubes to be sold in the United States and elsewhere.

26         127.     On February 10, 2009, a federal grand jury in San Francisco returned a two-count

27   indictment against the former Chairman and Chief Executive Officer of Defendant CPT, Cheng
28

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 1   Yuan Lin, aka C.Y. Lin, for his participation in global conspiracies to fix the prices of two types

 2   of CRTs used in computer monitors and televisions. The combination and conspiracy to fix the
 3
     prices of CRTs was carried out, in part, in the Northern District of California.
 4
            128.      In January 2011, the Korean Fair Trade Commission collectively fined Samsung
 5
     SDI, CPT, Chunghwa Malaysia and CPTF approximately $23,600,000 for agreeing to fix prices
 6
 7   and cut production in the color display tube market from 1996 through 2006. In addition, the

 8   Korean Fair Trade Commission concluded that LG Philips Display Korea Co. Ltd. participated
 9
     in the cartel.
10
                   I. THE PASS-THROUGH OF OVERCHARGES TO CONSUMERS
11
            129.      Defendants' conspiracy to fix, raise, maintain, and/or stabilize the price of CRTs
12

13   at artificial levels resulted in harm to Plaintiff because it resulted in Plaintiff paying higher prices

14   for CRT Products than they would have paid in the absence of Defendants' conspiracy. The
15   entire overcharge at issue was passed on to Plaintiff.
16
            130.      The Defendants monitored the prices of CRT Products sold in the United States
17
     on a regular basis. The purpose and effect of investigating such retail market data was at least
18

19   threefold. First, it permitted Defendants, such as Chunghwa, which did not manufacture CRT

20   televisions or computer monitors (unlike Samsung, LG, Panasonic, Toshiba, Philips, and

21   Hitachi), to police the price-fixing agreement to make sure that intra-defendant CRT sales were
22
     kept at supracompetitive levels. Second, it permitted all Defendants to police their price-fixing
23
     agreement to independent OEMs that would reduce prices for CRT Products ifthere was a
24
25   corresponding reduction in CRT prices from a Defendant. Third, Defendants used the prices of

26   CRT Products to analyze whether they could increase prices or should agree to a "bottom" price

27   instead. The Defendants concluded that in order to make their illegal CRT price increases
28

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 1   effective, they needed to make the price increase high enough that their direct customers (OEM

 2   television and monitor manufacturers) would be able to justifY a corresponding price increase to
 3
     their customers (i.e., retailers and computer OEMs). This way Defendants assured that 100% of
 4
     the overcharges for CRTs were passed on to consumers who purchased CRT Products.
 5
            131.    The indirect purchaser consumer buys CRT Products from either a computer or
 6
 7   television OEM such as Dell or Sharp, or a reseller such as Best Buy.

 8          132.    Because of the breadth of the price-fixing conspiracy, the direct purchaser CRT
 9
     television and monitor manufacturers were not constrained by their competitors from passing on
10
     the overcharge. Since each of the direct purchaser's competitors were also buying CRTs at
11
     supracompetitive prices from conspiracy members, no direct purchaser faced end-product price
12

13   competition from a competitor that was not paying supracompetitive prices for CRTs.

14         133.     The price of CRT Products is directly correlated to the price ofCRTs. The

15   margins for CRT television and monitor manufacturers are sufficiently thin that price increases
16
     ofCRTs force them to increase the prices of their CRT Products. This means that increases in th
17
     price of CRTs lead to quick corresponding price increases at the OEM level for CRT Products.
18
19         134.     Computer and television OEMs and retailers of CRT Products are all subject to

20   vigorous price competition, whether selling CRT televisions or computer monitors. The demand

21   for CRTs is ultimately determined by purchasers of CRT Products. The market for CRTs and the
22
     market for CRT Products are therefore inextricably linked and cannot be considered separately.
23
     Defendants were well aware of this intimate relationship, and used forecasts of CRT television
24
     and computer monitor production to predict sales of and determine production levels and pricing
25

26   for CRTs.

27

28

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 1          135.     Computers and televisions are commodities with little or no brand loyalty such

 2   that aggressive pricing causes consumers to switch preferences to different brands. Prices are
 3
     closely based on production costs, which are in turn directly determined by component costs, as
 4
     assembly costs are minimaL OEMs accordingly use component costs, like the cost ofCRTs, as
 5
     the starting point for all price calculations. On information and belief, computer and television
 6
 7   OEMs price their end-products on a "cost-plus" basis. Thus, computer and television prices

 8   closely track increases and decreases in component costs.
 9
            136.     The CRT is the most expensive component in the products into which they are
10
     incorporated. On information and belief, the cost ofthe CRT in a computer monitor is
11
     approximately 60% of the total cost to manufacture the computer monitor. On further
12

13   information and belief, the cost ofthe CRT in a television is a slightly smaller percentage of the

14   total manufacturing cost because a television has more components than a computer monitor,

15   such as a tuner and speakers.
16
            137.    Economic and legal literature recognizes that the more pricing decisions are based
17
     on cost, the easier it is to determine the pass-through rate. The directness of affected costs refers
18

19   to whether an overcharge affects a direct (i.e., variable) cost or an indirect (i.e., overhead) cost.

20   Overcharges will be passed through sooner and at a higher rate if the overcharges affect direct

21   costs. Here, CRTs are a direct and substantial cost of CRT Products. Therefore, Plaintiff will be
22
     able to show that the overcharge on the CRTs was passed through to indirect purchasers.
23
            138.    Once a CRT leaves its place of manufacture, it remains essentially unchanged as
24
25   it moves through the distribution system. CRTs are identifiable, discreet, physical objects that do

26   not change form or become an indistinguishable part of the TV or computer monitor in which

27

28

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 1   they are contained. Thus, CRTs follow a traceable physical chain from the Defendants to the

 2   OEMs to the purchasers of finished products incorporating CRTs.
 3
            139.    Moreover, just as CRTs can be physically traced through the supply chain, so can
 4
     their price be traced to show that changes in the prices paid by direct purchasers of CRTs affect
 5
     prices paid by indirect purchasers of CRT Products. On information and belief, computer and
 6

 7   television OEMs price their end-products on a "cost-plus" basis. In retailing, it is common to use

 8   a "mark-up rule." The retail price is set as the wholesale cost plus a percentage mark-up designed
 9
     to recover non-product costs and to provide a profit. This system guarantees that increases in
10
     costs to the retailer will be passed on to end buyers. Unlawful overcharges in a component
11
     normally result in higher prices for products containing that price-fixed component. In a
12

13   multiple-level chain of distribution, passing on monopoly overcharges is not the exception; it is

14   the rule.
15          140.     The purpose of Defendants' conspiratorial conduct was to fix, raise, maintain,
16
     and/or stabilize the price ofCRTs and, as a direct and foreseeable result, CRT Products. The
17
     market for CRTs and the market for CRT Products are inextricably linked. One exists to serve
18

19   the other. Defendants not only knew, but expressly contemplated, that prices of CRT Products

20   would increase as a direct result of their increasing the prices ofCRTs.

21          141.    Finally, many ofthe Defendants and/or co-conspirators have themselves been
22
     and/or are manufacturers of CRT televisions and computer monitors. Such manufacturers
23
     include, for example, Samsung, LG, Hitachi, Toshiba, Philips, and Panasonic. Having agreed to
24

25   fix prices for CRTs, the major component of the end products they were manufacturing, these

26   Defendants intended to pass on the full cost of this component in their finished products, and in

27   fact did so.
28

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 1          142.      As a direct and proximate result of Defendants' illegal conduct, Plaintiffhas been

 2   forced to pay supracompetitive prices for CRT Products containing price-fixed CRTs. These
 3
     inflated prices have been passed onto Plaintiff by direct purchaser manufacturers, distributors,
 4
     and retailers.
 5
                                    L   FRAUDULENTCONCEALMENT
 6

 7          143.      Defendants have fraudulently concealed the existence of conspiracy alleged in

 8   this Complaint.
 9          144.      The State of Florida has exercised due diligence to learn of its legal rights and,
10
     despite such diligence, failed to uncover the existence of the violations alleged below until after
11
     the initiation of a class action suit.
12

13          145.      After learning ofthe class action suit, the State of Florida exercised further due

14   diligence which has led to the filing of this lawsuit

15          146.      Additionally, Plaintiff State of Florida's claims alleged herein were tolled in the
16
     interim as a result of Plaintiff being included as a member of putative classes in multiple class
17
     action suits.
18
            147.      Defendants effectively) affirmatively, and fraudulently concealed the existence of
19

20   the violations alleged below through the following actions, among others:

21                    a.      by engaging in a conspiracy through secret discussions and meetings
22
             regarding pricing and output that did not give rise to fact that would put the State of
23
             Florida on inquiry notice that the Defendants conspired to fix prices for CRTs;
24
                      b.      by agreeing to not publicly discuss the nature of their price-fixing
25

26           agreement;

27
28

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 1                   c.      by agreeing limit the number of representatives from each Defendant

 2          attending the meetings and limit written communication regarding their ongoing price-
 3
            fixing agreement to avoid detection and prosecution under the antitrust laws;
 4
                     d.      by agreeing to disseminate false and pretextual reasons for the inflated
 5
            prices of CRTs during the relevant period and by describing such pricing falsely as being
 6

 7          the result of external costs rather than collusion;

 8                   e.      by agreeing among themselves on what to tell their customers about price
 9          changes, and agreeing upon which attendee would communicate the price change to
10
            which customer;
11
                     f.      by agreeing among themselves upon the content of public statements
12

13          regarding capacity and supply;

14                   g.      by agreeing among themselves to eliminate references in expense reports

15          that might reveal the existence of their unlawful meetings; and
16
                     h.      by engaging in a successful, illegal price-fixing conspiracy that by its
17
            nature was inherently self-concealing.
18
19         148.      The State of Florida has exercised due diligence by promptly investigating the

20   facts giving rise to the claims asserted herein upon having reasonable suspicion of the existence

21   of Defendants' conspiracy to the extent permitted by law.
22
                                             K. ASSIGNMENT
23
           149.      The State ofFlorida, Department of Management Services, Procurement Division
24
     ("DMS"), requires vendors contracting through DMS for provision of products and/or services to
25
26   Florida agencies, political subdivisions, universities, and community colleges to assign claims

27
28

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 1   those vendors may accrue relating to violations of federal and/or state antitrust laws to the State

 2   of Florida when the claims relate to purchases by Florida governmental entities.
 3
            150.    As a result of this requirement, the State ofFlorida has contractual agreements
 4
     with certain retailers or makers of CRT Products assigning any accrued claims relating to
 5
     violations of federal and/or state antitrust laws to the State of Florida, when the claims relate to
 6
 7   purchases by Florida governmental entities.

 8          151.    The retailers or makers of CRT Products sold to Florida governmental entities
 9   commonly purchased products containing CRTs directly from Defendants.
10
            152.    The retailers or makers of CRT Products paid higher-than-competitive prices for
11
     CRTs and CRT Products as a result of Defendants' unlawful conduct.
12

13          153.    The retailers or makers of CRT Products ("Assignors"), pursuant to DMS bid

14   docillnents, contracts and/or purchasing agreements, assign to the State of Florida all of their

15   accrued claims for violations of federal and/or state antitrust laws relating to the CRTs or CRT
16
     Products that the retailers or makers of CRT Products purchased and then resold to Florida
17
     governmental entities.
18
            154.    The Assignors are: Acer, Apple, Compaq, Dell, Inc., Digital Equipment, Fujitsu,
19
20   Gateway, Hewlett-Packard, IBM, Lenovo, Micron, NEC, Sony and Toshiba.

21          155.    With the assignment of these claims, the State of Florida received all right, title,
22
     and interest that the Assignors had in federal and/or state antitrust claims against Defendants.
23

24
25

26
27

28

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 1                                    L. VIOLATIONS ALLEGED

 2                                                COUNT I
 3
                   (Illegal Restraint of Trade Under Section One of the Sherman Act)
 4
            156.    The State of Florida incorporates and re-alleges, as though fully set forth herein,
 5
     each and every allegation set forth in the preceding paragraphs of this Complaint.
 6
 7         157.     This is an action that alleges a violation of Section One of the Shennan Act, 15

 8   U.S.C. § 1.
 9
           158.     Defendants knowingly -that is, voluntarily and intentionally- entered into a
10
     continuing agreement, understanding and conspiracy to fix, control, raise, maintain, and/or
11
     stabilize the prices charged for CRTs during the relevant period, continuing through the filing of
12
13   this Complaint.

14         159.     Defendants knowingly- that is, voluntarily and intentionally- entered into a
15   continuing agreement, understanding, and conspiracy to limit the production of CRTs during the
16
     relevant period, continuing through the filing of this Complaint.
17
           160.     The agreement caused the State of Florida to suffer a continuing injury to its
18
19   property for the following reasons:

20                  a.     The State of Florida and its units of government have been assigned the

21          rights giving rise to this action from the Assignors, which purchased CRTs or CRT
22
            Products directly from a Defendant.
23
                    b.     Price competition in the sale ofCRTs has been restrained, suppressed,
24

25          and/or eliminated throughout Florida and the United States.

26                  c.     Purchasers ofCRTs and CRT Products have been deprived of the benefits

27          of competition.
28

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 1                                                COUNT II

 2                       (Illegal Restraint of Trade Under the Florida Antitrust Act)
 3
           161.     The State of Florida incorporates and re-alleges, as though fully set forth herein,
 4
     each and every allegation set forth in the preceding paragraphs of this Complaint.
 5
           162.     This is an action that alleges a violation of Section 542.18, Florida Statutes.
 6
 7         163.     Defendants knowingly       that is, voluntarily and intentionally   entered into a

 8   continuing agreement, understanding, and conspiracy to fix, control, raise, maintain, and/or
 9   stabilize the prices charged for CRTs during the relevant period, continuing through the filing of
10
     this Complaint.
11
           164.     Defendants knowingly - that is, voluntarily and intentionally - entered into a
12
13   continuing agreement, understanding, and conspiracy to limit the production of CRTs during the

14   relevant period, continuing through the filing of this Complaint.

15         165.     The sale ofCRTs and CRT Products involves trade or commerce within the
16
     meaning of the Florida Antitrust Act.
17
           166.     The agreement caused the State of Florida to suffer a continuing injury to its
18

19   property for the following reasons:

20                  a.        The State of Florida and its units of government have been assigned the

21          rights giving rise to this action from the Assignors, which purchased CRTs or CRT
22
            Products directly from a Defendant.
23
                    b.        Price competition in the sale ofCRTs has been restrained, suppressed,
24
            and/or eliminated throughout Florida and the United States.
25

26                  c.        Purchasers ofCRTs and CRT Products have been deprived ofthe benefits

27          of competition.
28

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 1                                               COUNT III

 2                                 (Unfair Trade Practice Under FDUTPA)
 3
            167.    The State of Florida incorporates andre-alleges, as though fully set forth herein,
 4
     each and every allegation set forth in the preceding paragraphs of this Complaint.
 5
            168.    This is an action that alleges a violation of Section 501.204, Florida Statutes, for
 6

 7   all direct and indirect purchases of CRTs by governmental entities, businesses, and individual

 8   consumers in the State of Florida pursuant to Section 501.207(1)(c), Florida Statutes.
 9          169.    The sale ofCRTs involves trade or commerce within the meaning of the
10
     FDUTPA.
11
            170.    Defendants' actions offend established public policy and are immoral, unethical,
12

13   oppressive, unscrupulous, or substantially injurious to Florida governmental entities, to

14   businesses in the State of Florida, and to individual residents in the State of Florida. Thus,
15   Defendants' unfair methods of competition and unconscionable acts and practices in the conduct
16
     of trade and commerce violate Section 501.204, Florida Statutes.
17
                                        M. PRAYER FOR RELIEF
18
19          171.    Accordingly, the State of Florida requests that this Court:

20                  a.      Adjudge and decree that Defendants violated Section 1 of the Sherman

21          Act, 15 U.S.C. §1;
22
                    b.      Adjudge and decree that Defendants violated Section 542.18, Florida
23
            Statutes;
24
                    c.      Adjudge and decree that Defendants violated Section 501.204, Florida
25
26          Statutes;

27
28

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 1                  d.      Enjoin and restrain, pursuant to federal and state law, Defendants, their

 2          affiliates, assignees, subsidiaries, successors, and transferees, and their officers, directors,
 3
            partners, agents and employees, and all other persons acting or claiming to act on their
 4
            behalf or in concert with them, from continuing to engage in any anticompetitive conduct
 5
            and from adopting in the future any practice, plan, program, or device having a similar
 6
 7          purpose or effect to the anticompetitive actions set forth above;

 8                  e.      Award to the State of Florida any other equitable relief as the Court finds
 9
            appropriate to redress Defendants' violations of federal or state law to restore
10
            competition;
11
                    f.      Award to the State of Florida treble damages for overcharges paid by or
12

13          assigned to the State of Florida and its units of government for purchases of CRTs and

14          CRT Products;

15                  g.      Award to the State of Florida any other statutory damages, restitution or
16
            equitable disgorgement for the benefit of the state and its consumers, as appropriate;
17
                    h.      Award to the State of Florida the maximum civil penalties under Section
18
            542.21, Florida Statutes, for each contract, combination, or conspiracy in restraint of
19

20          trade or commerce;

21                  1.      Award to the State of Florida the maximum civil penalties under Sections
22
            501.2075 and 501.2077, Florida Statutes, for each violation ofFDUTPA;
23
                   ].       Award to the State of Florida its costs, including reasonable attorneys'
24
            fees and, as may be appropriate under state law, expert witness fees and investigation
25

26          costs; and

27                  k.      Order any other relief that this Court deems proper.
28

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 1                                   N. DEMAND FOR JURY TRIAL

 2           172.    The State of Florida demands a trial by jury of all issues so triable in this case.
 3
 4
      Respectfully submitted,                                Dated: December 8, 2011
 5
      The State of Florida
 6

 7    PAMELA JO BONDI
      Attorney General
 8    STATE OF FLORIDA
 9
10

11
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      NICHOLAS J. WEILHAMMER* (Nicholas.Weilhammer@myfloridalegal.com)
15    ELI FRIEDMAN* (Eli.Friedman@myfloridalegal.com)
16    Office of the Attorney General
      State of Florida
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19    Fax: (850) 488-9134

20    *Pending Transfer to MDL 1917 and
      Automatic Pro Hac Vice Admission Pursuant
21    to Pretrial Order No. 1 Dated April 4, 2008
22    (Waiving Civil L.R. 1 1-3)

23    Attorneys for Plaintiff State of Florida

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      JS, 44 (Rev. 12/07) (CA!'iD Rev II 10)                                           CIVIL COVERSHEET~
The JS 44 civil cover sheet and the infonnation contained herein neither replace nor supplement the filing and service of pleadings or other papers as  1red by law, except as provided
by local rules of court This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of irutiatmg
the civil docket sheet (§EE INSTRUCTIONS ON PAGE TWO OF THE FORM.)                                   '"*/----------------·-·-·----·----~-·-·----
 1.      (a)       .PLAINTIFFS                                                                           DEFENDANTS
      State ::>fFlorida, Department of Legal Affairs, Office of the Attorney                                See attachment
      Genefal

         (b) County of Residence of First Listed Plaintiff                                                            Ke.Sia,em:e of First Listed
                              (EXCEPT !N US PLAINTIFF CASES)                                                                         (IN US PLAINTIFF CASES ONLY)
                                                                                                               NOTE:       l!XLANDCONDE!>.!NATTON CASES, USE THE LOCATION OF THE
                                                                                                                           LAND INVOLVED.

         (c)    Attorney's (Firm Name, Address, and Telephone Number)                                    Attorneys (If Known)

      See attachment

                                                                                                                                LB
II. BASIS OF JURISDICTION (Place an "X' in One Box Only)                                        ni CITIZENSHIP OFPiiNCJP AL p Gl:lf~~,(~~·.i
                                                                                                       (For Dtverstty Cases Only)                     ~
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                                                                                                                                    PTF   DEF                               ·~          PTF          DEF
D I        US. Government           [E) 3 Federal Question                                         Citizen of This State       D I D I          Incorporated or Principal Place      D 4         D
               Plaintiff                            (U.S. Government Not a Party)                                                                    of Business In This State

D 2        U.S. Government          D 4 DiverSity                                                  Citi7.en of Another State   D 2 D 2 Incorporated and Principal Place D 5                      D
               Defendant                        (Indicate Citizenship of Parties in Item Ill)                                                       of Business In Another State

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 V. ORIGIN                 (Place an "X" in One Box Only)                                                              Transferred from                                            Appeal to District
 CEl J Original            D 2 Removed from              D 3 Remanded !rom               D :4· Reinstated or     D 5 another district       D 6 Multi district            07             from
           Proceeding            State Court                     Appellate Court                Reopened                (speciry)                  Litigation

                                               Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                               15
VI. CAUSE OF ACTION




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